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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :
                                               :
ETHAN NORDEAN,                                 :
JOSEPH R. BIGGS,                               :              No. 1:21-cr-175 (TJK)
ZACHARY REHL,                                  :
ENRIQUE TARRIO, and                            :
DOMINIC J. PEZZOLA,                            :
                                               :
                       Defendants.             :

     GOVERNMENT’S RESPONSE TO COURT’S APRIL 7, 2023 MINUTE ORDER

        The United States of America respectfully files this response to the Court’s April 7, 2023

Minute Order inviting supplemental arguments regarding the proposed jury instruction for 18

U.S.C. § 1512(c)(2) in light of the D.C. Circuit’s opinion in United States v. Fischer, No. 22-3038

(D.C. Cir. Apr. 7, 2023). The current Section 1512(c)(2) instruction is legally sufficient and should

be provided to the jury, notwithstanding Circuit Judge Walker’s concurring opinion regarding the

definition of “corruptly.”

   I.      THE CONCURRING OPINION IS NOT BINDING.

        In United States v. Fischer, No. 22-3038, __ F.4th __, 2023 WL 2817988 (D.C. Cir. Apr.

7, 2023), the D.C. Circuit held that 18 U.S.C. § 1512(c)(2) “encompasses all forms of obstructive

conduct, including . . . efforts to stop Congress from certifying the results of the 2020 presidential

election.” Id. at *3. The court explained that “the meaning of the statute is unambiguous . . .

§ 1512(c)(2) applies to all forms of corrupt obstruction of an official proceeding, other than the

conduct that is already covered by § 1512(c)(1).” Id. at *4. This “broad interpretation of the statute

— encompassing all forms of obstructive acts — is unambiguous and natural, as confirmed by the
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‘ordinary, contemporary, common meaning’ of the provision’s text and structure.” Id. at *5

(quoting Perrin v. United States, 444 U.S. 37, 42 (1979)). This portion of the opinion was authored

by Judge Pan and joined by Judge Walker, and thus constitutes Fischer’s binding holding.

        Fischer’s holding regarding the type of obstructive acts that may satisfy § 1512(c)(2) does

not resolve the scope of that statute’s separate mens rea requirement—specifically, the meaning

of the word “corruptly” as it is used in § 1512(c). That issue is pending before the D.C. Circuit in

a different case, United States v. Robertson, No. 22-3062, which is scheduled to be argued on May

11, 2023.

        As explained in both the majority and dissenting opinions in Fischer, the definition of

“corruptly” was not squarely presented in that case and therefore was not resolved. See 2023 WL

2817988, at *7 (opinion of Pan, J.) (“expressing [no] preference for any particular definition of

‘corruptly’” because “the allegations against appellees appear to be sufficient to meet any proposed

definition of ‘corrupt’ intent); id. at *8 (noting that the dissent also “declines to settle on a precise

meaning of ‘corruptly’ at this time” and thus “share[s] much common ground” with Judge Pan’s

opinion “on the issue of mens rea”); Id. at *42-*43 (Katsas, J., dissenting) (surveying possible

definitions of “corruptly” but declining to adopt any particular one). Although Judge Walker would

have determined that “corruptly” means “a criminal intent to procure an unlawful benefit,” id. at

*22 (Walker, J., concurring), the resolution of that mens rea issue was not necessary to the court’s

holding concerning the actus reus of the offense—which Judge Walker joined—and his views on

the meaning of “corruptly” were not adopted by the other judges on the panel.

        Accordingly, there is no reason for this Court to turn to United States v. Marks, 430 U.S.

188 (1977), for guidance on how to interpret Fischer’s holding. In Marks, the Supreme Court held

that, “[w]hen a fragmented Court decides a case and no single rationale explaining the result enjoys



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the assent of five Justices, ‘the holding of the Court may be viewed as that position taken by those

Members who concurred in the judgments on the narrowest grounds[.]’” 430 U.S. at 193 (quoting

Gregg v. Georgia, 428 U.S. 153, 169 n.15 (1976) (plurality op.)). Marks is inapposite for a number

of reasons.

       First, there is a “single rational explaining the result” in Fischer that a majority of the court

adopted: all but Section I.C.1 (declining to interpret “corruptly”) and footnote 8 of Judge Pan’s

majority opinion. That opinion held in Section I.A that § 1512(c)(2) was “unambiguous”: it

“applies to all forms of corrupt obstruction of an official proceeding, other than the conduct that is

already covered by § 1512(c)(1).” Fischer, 2023 WL 2817988, at *4. Thus, unlike the situation

described in Marks—where more than five Justices agreed on a result, but no five Justices agreed

on a rationale—here, a majority of the court did agree on a rationale explaining the result:

§ 1512(c)(2)’s unambiguous statutory text. Thus, Marks has no applicability.

       In this respect, the Fischer majority opinion is like those that have commanded a five-

Justice majority in the Supreme Court, with one Justice writing a concurring opinion explaining

his or her disagreement with aspects of the majority opinion but joining it anyway. See, e.g., AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 352-53 (2011) (Thomas, J., concurring); Arizona v.

Gant, 556 U.S. 332, 354 (2009) (Scalia, J., concurring); U.S. Airways, Inc. v. Barnett, 535 U.S.

391, 408 (2002) (O’Connor, J, concurring). In such a case, it is the majority opinion that controls,

and Marks has no applicability. See Richard M. Re, Beyond the Marks Rule, 132 Harv. L. Rev.

1942, 2001-02 nn.311, 322 (2019) (noting that appellate courts have never applied the Marks rule

to Concepcion and Gant). Here, Judge Walker joined the portion of Judge Pan’s opinion holding

that § 1512(c)(2) encompasses all forms of obstructive conduct. That is Fischer’s clear holding.




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The fact that Judge Walker’s understanding of the statute’s mens rea requirement informed his

decision to join the majority opinion does not make that understanding a holding of the court.

       Second, any discussion of § 1512(c)(2)’s mens rea requirement in Fischer is necessarily

dicta. In that case, the district court dismissed the indictments’ § 1512(c)(2) counts, finding that

they failed to state a claim because they “d[id] not allege that they violated § 1512(c)(2) by

committing obstructive acts related to ‘a document, record, or other object[.]’” Fischer, 2023 WL

2817988, at *3. In reversing that dismissal, the court of appeals had no occasion to interpret the

meaning of the word “corruptly” as it is used in § 1512(c). An indictment is sufficient if it “contains

the elements of the offense charged and fairly informs a defendant of the charge against which he

must defend,” Hamling v. United States, 418 U.S. 87, 117 (1974), which may be accomplished by

“echo[ing] the operative statutory text while also specifying the time and place of the offense.”

United States v. Williamson, 903 F.3d 124, 130 (D.C. Cir. 2018). The indictments at issue in

Fischer all alleged that the defendants acted “corruptly,” as the statute requires. See Fischer, 2023

WL 2817988, at *2. Any dispute about the meaning of that term could have no bearing on the

sufficiency of the indictment for purposes of a motion to dismiss.

       Third, as both Judge Pan and Judge Walker recognized, the D.C. Circuit has never applied

Marks to its own cases. See Fischer, 2023 WL 2817988, at *8 n.5; id. at *27 n.10 (Walker, J.,

concurring). Indeed, “only one federal appellate court has done so.” Id. at *8 n.5 (citing Binderup

v. U.S. Att’y Gen., 836 F.3d 336, 356 (3d Cir. 2016) (en banc)). Insofar as this Court “needs some

rule to decide the holding” of Fischer, 2023 WL 2817988, at *27 n.10 (Walker, J., concurring),

that rule is apparent: it should follow the parts of the opinion agreed upon by a majority of the

panel, as it would with any other opinion. As discussed above, that holding is clear: § 1512(c)(2)’s

plain language encompasses all forms of obstructive conduct.



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       Fourth, even were this Court to apply a Marks analysis to Fischer, it would not require the

Court to adopt Judge Walker’s view of the meaning of “corruptly” as it is used in § 1512(c)(2). In

King v. Palmer, the en banc D.C. Circuit held that “Marks is workable—one opinion can be

meaningfully regarded as ‘narrower’ than another—only when one opinion is a logical subset of

other, broader opinions. In essence, the narrowest opinion must represent a common denominator

of the Court’s reasoning; it must embody a position implicitly approved by at least five Justices

who support the judgment.” 950 F.2d 771, 781 (D.C. Cir. 1991) (en banc); see generally Beyond

the Marks Rule, supra, at 1994-95 (noting that the D.C. Circuit has adopted a narrower reading of

Marks than other courts of appeals). But Judge Walker’s reading of “corruptly” does not “embody

a position implicitly approved by at least [two judges] who support the judgment”; to the contrary,

a “majority of the panel . . . expressly declined to endorse the concurrence’s definition of

‘corruptly.’” Fischer, 2023 WL 2817988, at *8 n.5. Moreover, Judge Walker’s definition was “not

one with which [the majority] opinion ‘must necessarily agree as a logical consequence of its

own, broader position’ because [the majority] opinion t[ook] no position on the exact meaning of

‘corruptly.’” Id. (quoting King, 950 F.2d at 782). Indeed, insofar as Judge Walker pitched his

opinion as “narrower” than Judge Pan’s because he “read[s] [§ 1512](c)(2) to cover only some of

the conceivable defendants the lead opinion might allow a court to convict,” Fischer, 2023 WL

2817988, at *27 n.10 (Walker, J., concurring), that assertion again highlights the fact that any

discussion of the meaning of the term “corruptly” in Fischer is dicta. The question on appeal in

that case was whether the indictments at issue properly alleged an offense under § 1512(c)(2).

Answering that question did not require the court to delineate the world of “conceivable

defendants” that could be convicted under the statute. Indeed, attempting to do so would be entirely




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inappropriate at the motion to dismiss stage, which merely evaluated whether “the indictment

fairly informed [the defendant] of the charge against him[.]” Williamson, 903 F.3d at 132.

         There can be no doubt about Fischer’s clear holding: § 1512(c)(2) “encompasses all forms

of obstructive conduct, including . . . efforts to stop Congress from certifying the results of the

2020 presidential election.” 2023 WL 2817988, at *3. That holding is binding on this Court. The

discussion in Judge Walker’s concurring opinion about the meaning of “corruptly” as it is used in

§ 1512(c)(2) is not.

   II.         THE CURRENT SECTION 1512(c) JURY INSTRUCTION IS LEGALLY
               SUFFICIENT.

         The definition of “corruptly” set forth in the Court’s Section 1512(c)(2) Jury Instruction is

legally sufficient and appropriate in the context of congressional obstruction. To violate Section

1512(c)(2), a defendant must act “corruptly.” Because that term is not statutorily defined, it is

“understood . . . to have its ordinary meaning.” United States v. North, 910 F.2d 843, 881 (D.C.

1990) (per curiam), opinion withdrawn and superseded in part on reh’g, 920 F.2d 940 (D.C. Cir.

1990). As a matter of plain language, “corruptly” is “normally associated with wrongful, immoral,

depraved, or evil.” Arthur Andersen LLP v. United States, 544 U.S. 696, 705 (2005); see North,

910 F.2d at 881 (“corruptly” means “depraved, evil: perverted into a state of moral weakness or

wickedness”).

         Acknowledging that “the plain meaning of ‘corruptly’ encompasses both corrupt

(improper) means and corrupt (morally debased) purposes,” United States v. Sandlin, 575 F. Supp.

3d 16, 31 (D.D.C. 2021), the instructions require the government to prove that each defendant

either “use[d] unlawful means” or “ha[d] an unlawful purpose.” Section 1512(c) Jury Instruction1;



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             The Section 1512(c) Jury Instruction reads as follows:

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see North, 910 F.2d at 942-43 (Silberman, J., concurring in part and dissenting in part). And

drawing from Andersen, see 544 U.S. at 706, the instructions also require proof that each defendant

acted with “consciousness of wrongdoing,” which the instructions define as acting “with an

understanding or awareness that what the person is doing is wrong.” Section 1512(c) Jury

Instruction.

       The inclusion of a narrative paragraph in the instruction further ensures that the jury

instructions “convey the requisite consciousness of wrongdoing.” Arthur Andersen, 544 U.S. at

706. In essence, that paragraph explains that a person who acts intentionally to influence or impede

a congressional proceeding has not violated the obstruction statute unless that person acts corruptly

such as by engaging in bribery or “other independently unlawful conduct.” Section 1512(c) Jury

Instruction. The narrative paragraph thus both clarifies that intent to obstruct the proceeding in

question is not, at least in the context of congressional obstruction, sufficient to prove that a

defendant acted “corruptly,” see North, 910 F.2d at 882, and underscores that such a person can

act corruptly for purposes of Section 1512(c)(2) if he employs “independently corrupt means,” at

942-43 (Silberman, J., concurring in part and dissenting in part).

       The definition of “corruptly” contained in the Section 1512(c) Jury Instruction is also

consistent with, though more demanding than, definitions of “corruptly” applied to Section

1512(c)(2) by other courts of appeals. Since Section 1512(c)(2)’s enactment in 2002, courts have


       To act “corruptly,” the defendant must use unlawful means or have an improper purpose,
or both. The defendant must also act with “consciousness of wrongdoing.” “Consciousness of
wrongdoing” means with an understanding or awareness that what the person is doing is wrong.
        Not all attempts to obstruct or impede an official proceeding involve acting corruptly. For
example, a witness in a court proceeding may refuse to testify by invoking his constitutional
privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does
not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by
engaging in conduct such as offering illegal bribes, engaging in violence, committing fraud, or
through other independently unlawful conduct, is acting corruptly.
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interpreted “corruptly” in Section 1512(c)(2) to require intent to obstruct and some degree of

wrongfulness. See United States v. Delgado, 984 F.3d 435, 452 (5th Cir. 2021); See United States

v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (upholding jury instruction defining “corruptly” as

acting with “consciousness of wrongdoing”) (internal quotation marks omitted); United States v.

Friske, 640 F.3d 1288, 1291 (11th Cir. 2011) (to act “corruptly” is to act “with an improper

purpose” and “to engage in conduct knowingly and dishonestly with the specific intent to subvert,

impede or obstruct”) (quoting United States v. Mintmire, 507 F.3d 1273, 1289 (11th Cir. 2007));

United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013) (same); United States v. Mann, 701

F.3d 274, 307 (8th Cir. 2012) (same). Courts interpreting the neighboring provision, Section

1512(c)(1), have reached similar conclusions. See United States v. Bedoy, 827 F.3d 495, 510 (5th

Cir. 2016) (a “proper definition” of “corruptly” for purposes of Section 1512(c)(1) is to act

“knowingly and dishonestly, with the specific intent to subvert or undermine the due

administration of justice”) (internal quotation marks omitted); United States v. Matthews, 505 F.3d

698, 705 (7th Cir. 2007) (upholding instruction defining “[c]orruptly” in Section 1512(c)(1) as

acting “with the purpose of wrongfully impeding the due administration of justice”).




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   III.      CONCLUSION

          As stated above, the current Section 1512(c)(2) instruction is legally sufficient and should

be provided to the jury in this case, notwithstanding Circuit Judge Walker’s non-binding

concurring opinion regarding the definition of “corruptly.” Alternatively, if this Court adopts the

formulation of the definition of “corruptly” as set forth in Circuit Judge Walker’s concurrence in

Fischer, the government would propose the attached redlined, revised jury instruction that is

consistent with that concurrence.

                                                Respectfully Submitted,

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